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                                      UNITED STATES DISTRICT COURT
                                        DISTRICT OF MASSACHUSETTS


UNITED STATES OF AMERICA                                      *
                                                              *
                     v.                                       *
                                                              *        Criminal Action No. 18-30051-MGM
STEVEN M. VIGNEAULT,                                          *
                                                              *
           Defendant.                                         *


                               MEMORANDUM AND ORDER REGARDING
                                   MOTION TO CHANGE VENUE
                                         (Dkt. No. 95)

                                                   November 5, 2019

MASTROIANNI, U.S.D.J.

           Steven Vigneault, one of two co-defendants in this case, has moved for a change of venue

away from Springfield and Hampden County, Massachusetts, without indicating where the case

should be moved. 1 He asserts he cannot receive a fair trial in Springfield because pretrial publicity

regarding this case and investigations into civil rights violations at the Springfield Police narcotics

unit has permeated the local community. Separately, Vigneault asserts that he should not be tried in

the federal courthouse in Springfield because he was subjected to a retaliatory arrest while in the

building, following a meeting at offices of the United States Attorney. The government opposes the

motion, arguing that Vigneault has not met his burden to demonstrate that either mandatory or

permissive transfer is warranted. Vigneault’s co-defendant has neither joined nor opposed the

motion to change venue.

           Generally, the government is required to “prosecute an offense in a district where the

offense was committed.” Fed. R. Crim. P. 18. “This firm requirement, however, may be flexed


1   Defendant Vigneault has also moved to sever; the court will address that motion separately.
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where a defendant's request for transfer proves warranted due to either of two factors set forth in

Fed. R. Crim. P. 21: (1) the court determines that a defendant cannot receive a fair and impartial trial

in the original district due to excessive prejudice, Fed. R. Crim. P. 21(a), or (2) the convenience of

the parties, witnesses, victims, and the interest of justice so dictates, Fed. R. Crim. P. 21(b).” United

States v. Quiles-Olivo, 684 F.3d 177, 181 (1st Cir. 2012). Where excessive prejudice will prevent a fair

and impartial trial, “the court must transfer the proceeding.” Fed. R. Civ. P. 21(a). On the other

hand, the decision to transfer for the “convenience of the parties, any victim, and the witnesses, and

in the interest of justice” is left to the court’s discretion. Fed. R. Civ. P. 21(b).

        The court first considers whether Vigneault has demonstrated that his case must be

transferred because he cannot obtain a fair and impartial trial in Springfield. Citing the results of

various internet searches, Vigneault argues this material demonstrates significant local prejudice

against the Springfield Police Department and wide dissemination of information related to the

events underlying the charges against him and his co-defendant. The court does not doubt that an

individual using the internet to seek information about this case, the officers involved, or the

Springfield Police Department more generally would get thousands of results. However, the volume

of search results is not evidence that local media coverage has been so pervasive that this court

would be unable to seat a jury without including jurors who have already formed opinions about this

case based on the media coverage. The same is true of comments made by individuals and appended

to media coverage or posted in social media forums. Additionally, a significant amount of time, likely

more than four years, will have passed between the events giving rise to this case and any trial. See In

re Tsarnaev, 780 F.3d 14, 22 (1st Cir. 2015) (finding two years between underlying incident and trial

was sufficient for “the decibel level of publicity about the crimes themselves to drop and community

passions to diminish”). This court also draws jurors from all four counties of western Massachusetts

and many of these individuals will feel no more personal connection to events involving Springfield


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police officers than potential jurors in other areas of Massachusetts or in nearby states. See Skilling v.

United States, 561 U.S. 358, 379-81 (2010) (discussing how size and characteristics of a community

impact the likelihood of prejudice in the jury pool). Additionally, while there has been significant

coverage in local media of incidents involving Vigneault, his co-defendant, and the Springfield Police

Department narcotics unit, “[p]rominence does not necessarily produce prejudice, and juror

impartiality, . . . does not require ignorance.” Id. at 381 (emphasis in original). To the extent there are

individuals in the jury pool aware of this case due to media coverage, Vigneault, through counsel,

will have the opportunity to conduct a detailed voir dire and seek for-cause dismissals of any biased

individual. Additionally, the court will send a questionnaire to potential jurors before they report for

service in order to ensure a sufficient number of qualified jurors are brought in for jury selection. If

the responses to the questionnaire or other circumstances arise during jury selection that indicate

widespread jury bias, any party, or the court, may revive the question of venue transfer. At this time,

however, this does not appear to be the type of extreme case that warrants a presumption of

prejudice and mandatory transfer of venue. Id.

        The court next considers whether Vigneault has demonstrated that discretionary transfer is

appropriate here. He asserts that transferring this case away from Springfield will cause minimal

inconvenience to the parties. However, a discretionary transfer to a different district pursuant to

Fed. R. Civ. P. 21(b) requires more than convenience for the parties. The transfer must also be

convenient for victims and witnesses and “in the interest of justice.” Fed. R. Civ. P. 21(b). Vigneault

has asserted only that transfer will not be overly inconvenient for the parties. Given the location of

the underlying incident, a transfer is likely to make it harder for victims and at least some witnesses

to participate in the trial.

        Vigneault also argues due process requires transfer because the federal courthouse has

become an unfair venue, or has the appearance of being an unfair venue, in which to try Vigneault.


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Members of the Springfield Police Department arrested Vigneault at the federal courthouse, in

connection with charges not directly related to this case, as he was leaving a meeting with the U.S.

Attorney’s office regarding this case and his possible cooperation. Vigneault asserts the arrest was

retaliation for his decision to cooperate and the federal courthouse is tainted by that improper

purpose. In support, he cites a case from the Eastern District of New York in which the court found

the “interests of justice” were served by a transferring a case to the nearby Southern District to

avoid an appearance of injustice that might arise because the victim was an “[a] member of the

Eastern District family.” United States v. Wright, 603 F. Supp. 2d 506, 508 (E.D.N.Y. 2009). Here, the

facts are quite different. The charge against Vigneault is unrelated to anyone working at the

Springfield federal courthouse or events that took place at the courthouse. The court also played no

role in the decision of the Springfield Police Department to arrest Vigneault at the courthouse. On

these facts, venue transfer is not necessary to serve the “interests of justice.”

        Finally, the court notes that the transfer requested by Vigneault, away from the federal

courthouse in Springfield, does not require the case to be transferred outside of this judicial district.

Massachusetts comprises a single judicial district administered as three divisions, with cases arising in

one division generally resolved in that division. See Local Rule 40.1. Criminal cases may be

transferred between divisions for good cause shown, a more flexible standard than the standards set

forth in Fed. R. Civ. P. 21. See e.g. McKeague v. One World Technologies, Inc., Civ. Action No. 14-14438-

NMG, 205 WL 12967853 (D. Mass. July 21, 2015) (finding good cause to transfer case to western

division, where western division was more convenient for Plaintiff and potential witnesses and there

was no showing Defendant’s witnesses would be “significantly inconvenienced” by the transfer).

Even applying this lower standard, the court finds an insufficient basis to transfer this case. The

court is confident a fair jury can be empaneled in Springfield and a venue change would be

inconvenient for many, including those impacted by the underlying events.


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       For the foregoing reasons, the court DENIES Defendant Stephen Vigneault’s Motion for

Change of Venue (Dkt. No. 95).

       It is so Ordered.

                                                  /s/ Mark G. Mastroianni________
                                                  MARK G. MASTROIANNI
                                                  United States District Judge




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